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14

15

16                                 UNITED STATES DISTRICT COURT

17                                NORTHERN DISTRICT OF CALIFORNIA

18                                      SAN FRANCISCO DIVISION

19 UNITED STATES OF AMERICA,                              Case No. 3:2-cr-00249-RS
20
                     Plaintiff,                           DECLARATION OF DAINEC P. STEFAN
21                                                        IN SUPPORT OF DEFENDANT
             v.                                           ANDRADE’S OPPOSITION TO
22                                                        GOVERNEMNT’S MOTION TO
     ROWLAND MARCUS ANDRADE,                              EXCLUDE EXPERT TESTIMONY OF
23
                     Defendant.                           SWATI KANORIA
24
                                                          Judge: Hon. Richard Seeborg, Chief Judge
25

26

27

28
      Decl. ISO of Opposition to Government’s Motion to              Case Number: 3:20-cr-00249-RS - Page 1
      Exclude Expert Testimony of Swati Kanoria
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 1                                  DECLARATION OF DAINEC P. STEFAN
 2              Dainec P. Stefan, counsel for Defendant Marcus Andrade, states as follows:
 3              1.      I am one of the lawyers representing Defendant Marcus Andrade in the above-
 4 captioned matter. I have personal knowledge of the factual matters contained herein based upon

 5 my review of the evidence and, if called as a witness in this matter, could competently testify to

 6 the matters stated in this Declaration.

 7              2.      Review of the exchange communications and contracts exchanged between Mr.
 8 Andrade and various cryptocurrency exchanges indicated that each exchange required payment
                                                      1
 9 of a listing fee for any new token or coin.

10              3.      Exchanges set thresholds for trading volume that tokens listed on the exchange
                                                                                    2
11 were required to meet. The volume amounts varied between exchanges.

12              4.      If a token or coin listed on one of these cryptocurrency exchanges failed to make
                                                                                                         3
13 its volume requirements for some period, the token would be de-listed from the exchange.

14              5.      Some cryptocurrency exchanges mandated market makers or offered their own
15 market making services to assist with maintenance of proper volumes; sometimes at an
                         4
16 additional price.

17              6.      One exchange, Lbank, required that the token issuer retain funds with the
                                                                                                             5
18 exchange so that the exchange could make a market for AML Bitcoin tokens with the funds.
19              7.      Mr. Andrade’s communications with exchange representatives show Mr. Andrade
                                                              6
20 being admonished, repeatedly, to maintain volume. He was encouraged to make and buy his
                         7
21 own sell orders.

22

23   1
     Exhs. B (Idax), C (Bilaxy), D (P2PB2B); E (CoinTiger); F (LATOKEN); G (Exrates); H (OVIS); I (Lbank)
     2
24   Exh. D (P2PB2B); E (CoinTiger); G (Exrates); I (Lbank)
   3
     Exhs. I (Lbank K), D (p2pb2b), B (Idax). D (CoinTiger)
25 4 Exhs. C (Bilaxy exchange chat), D (p2pb2b k), E (CoinTiger), F (LATOKEN), G (Exrates); I (Lbank); Exh. Q
   (Lbank services K)
26 5
     Exh. I
   6
27 7 Exhs J-O (Idax comms) & T (LATOKEN delisting)
     Exh. P (Idax comms).
28
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 1              8.      Mr. Andrade pitched by multiple cryptocurrency “market makers” who came to
                                                                                                             8
 2 him advertising their services, which included maintaining the volume and price of tokens.

 3              9.      In 2019, after having observed that he would need to work to maintain volume
 4 requirements to remain listed on the exchanges, Mr. Andrade amended the terms and conditions

 5 on the AML Bitcoin website to reflect that he and his team m engage in transactions on the

 6 exchanges on which AML Bitocoin was trading:

 7              NAC reserves the right, without notice or permission, to undertake any form of
 8              manual transactions or automated transactions, or to undertake any other lawful
 9              activities, that may be necessary to comply with the rules and regulations set out
10              by any public markets or exchanges (“Exchanges”) with which NAC conducts
11              any business. This may include the use of automation tools to generate
12              transactions necessary to comply with volume thresholds set by some Exchanges.
13              . . . . NAC reserves the right, but not the obligation, to engage in volume- making
                                                             9
14              for purposes of Exchange compliance.”
15              10.     On December 23, 2024, the government sent its cryptocurrency expert’s
                                                                                    10
16 demonstrative to the defense. It makes no mention of AML Bitcoin.

17              I declare under penalty of perjury under the laws of the United States that the foregoing is
18 true and correct.
19              Executed on December 27, 2024 in New York, NY.
20

21                                                               /s/ Dainec P. Stefan
                                                                 Dainec P. Stefan
22

23

24

25

26   8
     Exh. R (Geoffrey Ira), S (Tradex)
     9
27 10Exh. S (Terms & Conditions)
     Exh. U (Gov’t Cryptocurrency Demonstrative)
28
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